                         Case 1:21-cv-20521-BB Document 76-34 Entered on FLSD Docket 03/07/2022 Page 1 of 2



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 RICH, NAN VS STEIN, SANFORD


               Local Case Number:     1979-909253-SP-05                                   Filing Date:      07/24/1979

               State Case Number:     131979SC909253000005                            Judicial Section:     CC04

            Consolidated Case No.:    N/A                                                  Case Type:       SP Contract and Indebtedness (Up to $5,000)

                      Case Status:    CLOSED




  Parties                                                                                                                                  Total Of Parties: 4   

Party Description                    Party Name                                           Attorney Information                        Other Attorney(S)

Defendant                            Stein, Sanford

Defendant                            Sandys Tropical Landscaping

Plaintiff                            Rich, Nan

Plaintiff                            Rich, David




  Hearing Details                                                                                                                        Total Of Hearings: 0    

Hearing Date                    Hearing Time                           Hearing Code                   Description                  Hearing Location




  Dockets                                                                                                                                 Total Of Dockets: 5    

                                                                                  Event
    Number        Date          Book/Page          Docket Entry                   Type             Comments

                  09/04/1993                       Case Eligible for              Event            09/04/1993
                                                   Destruction :

                  09/10/1979                       Closed Under CIS               Judgment

                  09/10/1979                       Closed Under CIS               Event

                  09/10/1979                       Text                           Event            REFER TO MANUAL DOCKET &/OR MICROFILM FOR PRIOR
                                                                                                   ENTRIES

                  07/24/1979                       Statement of Claim             Event            $ 0.00




 BACK
                         Case 1:21-cv-20521-BB Document 76-34 Entered on FLSD Docket 03/07/2022 Page 2 of 2
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